                           EXHIBIT 1




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      to the distributees and beneficiaries identified in Schedule B, attached hereto and made a

      part of this Agreement by this reference.


3.2   The Trust shall provide to the Trustor, or to his order, so much of the income or principal ,
      or both, as he shall direct.


3.3   Upon the death of Trustor, Trustee shall administer the Trust assets, or pay them over, in
      the manner designated in Schedule B.


3.4   If an acting Trustee, because of illness or other reason, is incapable of managing or
      directing the Trust affairs, such Co-Trustees or successor Trustee as is designated m
      Paragraph 6.1 to continue or assume the responsibilities of Trustee shall, upon being
      furnished with written statements of two competent medical doctors as to such incapacity,
      assume full duties as Trustee for such time as the incapacity continues to exist. If Trustor is
      similarly declared incapacitated, the rights reserved by Trustor in Article ll hereof shall be
      suspended.    Restoration of competency, established by similar medical evidence, shall
      reinstate Trustor's or Trustee's standing.



                            ARTICLE IV
                 POWERS AND DUTIES OF THE TRUSTEE

Trustee shall have as to the Trust Estate and in the execution of this Trust all the rights, powers,
and privi leges which an absol ute owner of the same property would have, including, without
limiting the generality of the foregoing, the powers granted by law and the discretionary power
to acquire, invest, reinvest, exchange, sell, convey, control , divi de, partition, and manage the
Trust property in accordance with the standards provided by law, and the following special
ri ghts, powers, privileges, and duties:




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4.1   In acquiring, investing, rein ves ting, exchanging, selling and managing property hereunder,
      Trustee shall exercise the judgment and care under the circum stances then prevailing whic h
      persons of prudence, discretion and intell igence exercise.


4.2   Trustee may freely act under any of the powers set fo1ih in thi s Trust Agreement in all
      matters concerning this Trust, without the necessity of obtaining the consent or pennission
      of any person interested herein, or the consent or ap proval of any co urt, and
      notwithstanding that Trustee may also be acting individually, or as a trustee of other trusts,
      or as an agent for other persons or corporations interested in the same m atters, or may be
      interested in connection with the same matters as a stockholder, director, or otherwise;
      provided, however, th at Trustee shall exercise such powers at all times in a fiduciary
      capacity, primarily in th e interest of the Trustor and beneficiaries hereund er. It is expected
      th at Trustee will consult with the T rustor, and any adult ben efi ciari es then receiving
      benefits with regard to transactions of the Trust, but no approval for such tran sactions need
      be obtained unless specifically provided otherwise herein.


4.3   Subject to the forego ing provisions, Trustee shall have as to the Trust Estate and in the
      execution of the directions of thi s Trust the following spec ific ri ghts, powers, and
      pri vil eges:


      4.3. 1   To hold and retain any property received 111 trust hereunder even though such
               property not be o f a character authorized by the laws of the controlling state
               including, but not by way of limitatio n, retention of shares of stock issued by any
               corporate tru stee hereunder, and retention of assets received in trust, even th ough
               they may represent an undue propoiiion of the Tru st Estate, are wasting in natu re or
               unproductive, are improved or unimproved, are inherently hazardous or are
               otherwise di squal ified for trust in vestments .   Any or all securiti es of any kind
               included in the Trust Estate m ay be held in th e name of a nominee.




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   4.3.2    To rent or lease Trust property, with or without options to purchase or renew, to
            begin within a reasonable period and for tenns within or extending beyond the
            duration of the Trust, for any purpose including exploration for and removal of oil,
            gas and other minerals ; enter into community uil leases, pooling and unitization
            agreements.


   4.3.3    To subdivide, develop, dedicate to public use, make or obtain the vacation of public
            plats, adjust boundaries, partition real property, and on exchange or pm1ition to
            adjust differences in valuation by giving or receiving money or money's worth.


   4.3.4    To change the character of or abandon a Trust asset or any interest in it.


   4.3 .5   To sell and convey any of the property of the Trust Estate or any interest therein, or
            to exchange the same for other property, for such price or prices and upon such
            tenns as in Trustee's sole and absolute discretion and judgment may be deemed for
            the best interest of the Trust and the beneficiaries hereunder, and to execute and
            deliver any deed or deeds (with or without warnrnty), receipts, releases. contracts or
            other instrum ents necessary in connection therewith.


   4.3.6    To create restrictions, easements, including easements to public use without
            consideration, and other servitudes.


   4.3.7    To make all repairs and improvements at any time deemed necessa ry and proper to,
            and upon, real prope11y constituting a part of the Trust Estate, and to build,
            construct, and complete any building or buildings upon such prope11y, to demolish
            any improvements, raze existing structures, which in Trustee's sole and absolute
            discretion and judgment may be deemed advisable and proper and for the best
            interest of the Trust and the ben eficiaries hereunder, and to detennine the extent to




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           which the cost of such repairs and improvements shall be apportioned as between
           principal and income.


   4.3.8   To manage any business interest, regardless of fonn, received by the Trustee from
           the Trustor of the Trust, as a result of the death of a person, or by gratuitous transfer
           from any other transferor, and with respect to the business interest, have the
           following powers:


           (a)   To hold, retain, and continue to operate that business interest solely at the risk
                 of the Trust, without need to di versify and without liability on the part of the
                 Trustee for any resulting losses;


           (b)   To enlarge or diminish the scope or nature or the activities of any business;


           (c)   To authorize the pai1icipation and cont1ibution by the business to any
                 employee benefit plan, whether or not qu alified as being tax deductible, as may
                 be desirable from time to time;


           (d)   To use the general assets of the Trust for the purpose of the business and to
                 invest additional capital in or make loans to such business;


           (e)   To endorse or guarantee on behalf of the Trnst any loan made to the business
                 and to secure the loan by the Trust's interest in the business or any other
                 prope11y of the Trust;


           (t)   To dete1111ine, in Trustee's so le and absolute discretion, the manner and degree
                 of the Trustee's active participation in the man agement of any business, and the
                 Trustee is authorized to delegate all or any part of the Trustee's power to
                 supervi se, manage, or operate to such persons as the Trustee may            elect,




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              including any paiiner, associate, director, officer, or employee of the business;
              and also including electing or employing directors, officers, or employees of
              the Trustee to take pa11 in the management of such business as directors or
              officers or otherwise, and to pay that person reasonable compensation for
              services without regard to the fees payable to the Trustee;


        (g)   To engage, compensate, and discharge or to vote for the engagmg,
              compensating, and discharging of managers, employees, agents, lawyers,
              accountants, consultants, or other representatives, including anyone who may
              be a beneficiary of the Trust or any Trustee;


        (h)   To cause or agree that surplus be accumulated or that dividends be paid;


        (i)   To accept as correct financial or other statements rendered by any accountant
              for any sole propri etorship or by any partnership or corporation as to matters
              per1aining to the business except upon actual notice to the contrary;


        (j)   To treat the business as an entity separate from the Trust, and in any
              accounting by the Trustee it is sufficient if the Trustee reports the earnings and
              condition of the business in a manner conforming to standard business
              accounting practice or other comprehensive basis of accounting;


        (k)   To exercise with respect to the retention, continuance, or disposition of any
              s uch business all the 1ights and powers that the Trustor of the Trust would have
              if alive at the time of the exercise, includ ing all powers as are conferred on Lhe
              Trustee by law or as are necessary to enable the Tmstee to administer the Trust
              in accordance with the instrum ent governing the Trust, subject to any
              limitation s provided for in the in strument ; and,




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           (I)   To satisfy contractual and tort liabilities ans111g out of an unincorporated
                 business, first out of the business and second out of the estate or Trust, but in
                 no event may there be a liability of the Trustee, and if the Trustee is liable, the
                 Trustee is entitled to indemnification from the business and the Trust,
                 respectively;


   4.3.9   To cause or participate 111, directly or indirectly, the fom1ation, reorganization,
           merger, consolidation, dissolution, or other change in the fom1 of any corporate or
           other business undertaking where Trust property may be affected and retain any
           property received pursuant to the change.


   4.3.10 To limit participation in the management of any pminership and act as a limited or
           general partner.


   4.3 .11 To deduct, retain, expend, and pay out of any money belonging to the Trust any and
           all necessary and proper expenses in connection with the operation and conduct of
           the Trust, and to pay all taxes, insurance premiums, and other valid assessments,
           debts, claims or charges which at any time may be due and owing by, or which may
           exist against, the Trust.


   4.3. 12 To continue after Trustor's death , or during the incapacity of Trustor, any insurance
           policies owned by Trustor on the life of any person or persons and to pay premiums,
           assessments, and any other proper charges out of income, principal, or both, as
           Trustee deems best; and Trustee shall have full discretionary power to exercise any
           or all rights granted under any such policies, such as the right to take a premium
           loan, elect paid-up insurance or su1Tender the policies.


   4.3.13 Nothing in this Trust Agreement or any insurance policy ownership or beneficiary
           endorsement signed by Trust or shall be construed to give Trustor or Trustee any



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           incidents of ownership in any policy Yvhich would cause the proceeds to be taxed in
           the insured's estate. The right reserved by Trustor to amend this Trust shall no t be

           construed as reserving to an ins ured Trustor the right to affect the di spositi on of
           proceeds of any life insurance policy on Trustor's life.


    4.3.14 To employ such agents and counsel as may be necessary or desirable in Trustee's

          sole and absolute di scretion for the proper administration of this Trust, or in its
          defense against legal or equitable attack, without liability for the acts or defaults of

          such agents and attorneys selected by Trustee with due care; t0 pay a reasonable fee
           for such services, and to act in reliance upon the opinion or legal advice of s uch
          counsel.


   4 .3.1 5 To detem1ine the allocation of receipts and expenses between income and principal
          in accordance with the Washington Principal and Income Act; provided, there is

          reserved to the Trustee the power to make s uch equitable allocation as may
          nevertheless be contrary to the term s of that Act with respect to allocations relating

          to under productive property, depreciation , bond premium and discount, coq)orate
          distributions and the operation of a trade, business, or fa1111 except that the Trustee

          may not take any action regarding such equ itable allocation that may impair any
          marital deduction gift contained in this instrument.



   4.3.16 To issue proxies to any of the adult beneficiaries of this Trust for voting stock of the
          Trustee corporation in the event the Trustee of this Trust is a corporation.


   4.3.17 To pledge, encumber or hypothecate any asset or assets, including insurance
          policies of any kind, to secure financing from any so urce and for any pu111ose
          deemed appropriate by Trustee in Trustee's sole and absolute di scretion.




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   4.3.18 Within the limitations of the standards outlined in this Article, Trustee is authorized
          to acquire and retain every kind of property, real, personal, or mixed, and every kind
          of investment, specifically including, but not by way of limitation, bonds,
          debentures, and other corporate obligations and stocks, preferred or common,
          partnership interests either limited or general, and insurance po licies and annuities
          on the lives of the beneficiaries.


   4.3.19 To buy, sell and trade, in Trustee's sole and absolute discretion:        securities on
          margin or in a margin account, commodities or commodity futures of any type and
          in any manner, securities options either privately or through an exchange, puts and
          calls, other securities or assets of a similar type, precious metals, gems, and similar
          tangible items, and he, she, or they may pledge any securities held or purchased as
          security for loans or advances made to the Trust or elsewhere, and he, she, or they
          may bon-ow funds in any manner, under any conditions, and with or without
          collateral , including in the operation of a money management account and any
          related credit card or similar type activities.


   4.3.20 To hold Trust assets in one or more brokerage Trust accounts having separate
          purposes such as, but not restricted to, growth and income.


   4 .3.2 I If Trustee, or successor hereunder, is named as trustee under any other trust
          agreement containing provisions substantially similar to the provisions contained
          herein, Trnstce is authorized and empowered to consolidate the Trust created
          hereunder with any such other trust or trusts insofar as it is practicable to do so and
          it is not in conflict with the express tenns of this Trust or of such other trusts.
          Variations in minor details as to the management and distribution of the Trust Estate
          shall not be considered conflicting within the meaning of this paragraph.          The
          detennination by Trustee as to any consolidation hereunder shall be final and
          conclusive on all pai1ics interested in the Trus t Estate.




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   4.3 .22 To accept and m anage assets from any source which are designated as assets to be
          held in an inevocable status and such assets shall not be withdrawable by Trustors
          in any way. Such assets are to be held , managed, and dist1ibuted by the Trustee in
          such manner as is directed by the person or persons depositing th e assets . Trustee
          has the right to not accept any such assets if it is determined by Trustee, in T rustee's
          so le and absolute discreti on, th at acceptance of such assets and directions would not
          be in the best interest of Trustor.


   4.3.23 To appoint an ancillary Trustee or agent to facilitate management of assets located
          in another state or foreign country.


   4.3.24 To exercise any powers not otherwise granted in thi s instrument or given by law
          vv'hich the Trustee, in Trustee's sole and absolute di scretion, dctem1ines arc
          necessary and desirable and not incon sistent with the provisions of this instrument.


   4.3.25 To continue to hold in Trust any distribution of principal or in come otherw ise
          a uth orized in thi s instrum ent to be made to or for any beneficiary fo r such length of
          time as the Trustee, in Trustee's so le and abso lute di scret ion, considers appropriate
          because a sign ificant portion of beneficiary's distribution is threatened by (a) a court
          proceeding or judgment invo lving the benefi ciary or the beneficiary's fa mil y, (b) a
          tenninal illness of the beneficiary, (c) the acute or chronic alcoho l or drug ab use or
          dependency of the beneficiary, (d) a threatened or probable transfer th at the
          ben eficiary \Vou ld make of such distribution or any tran sfer w hi ch the beneficiary
          has made or has permitted or suffered to be made in anticipation of any such
          distribution, w hi ch the Trustee, in Trustee's so le and absolute discretion, deems to
          be imprudent or ill-advised or in exchange fo r w hat the Trustee deems to be
          insufficient or inappropriate consideration.




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          In the event any such payment or distribut ion is being withheld at the death of the
          beneficiary, unless provided otherwise herein, Trustee shall appoint such payment
          or distribution to any one o r more of Trustor's heirs, or add any such payment or
          distribution to any Trust or Trusts for one or more of them, as the Trustee, in
          Trustee's sole and absol ute discretion, shall select.    In the exercise of any such
          discretion, the decision of the Trustee shall be final and binding on al l persons.
          Provided, however, as to thi s hold-back power, that the appointment of any such
          payment or distribution on the death of the beneficiary may not be made to Trustee,
          Trustee's estate or Trustee's creditors. Such appointment may be made for life or for
          such oth er estates as Trustee may detem1ine, in trust or otherwise, and it may be
          made subject to lawfu l spendthrift provisions.


   4.3.26 To exercise the powers given the Trustee in this instrument and by law only in the
          Trustee's fiducia1y capacity; and notwithstanding any other provision in this
          instrument, the Trustee shall have no power under any such provision to enlarge or
          shift any of the beneficial interests under this instrument except as an incidental
          conseq uenc e of the discharge of the Trustee's fiduciary duties.


   4.3.27 S CorQoration Stock.


          (a)   When making distributions of S Corporation stock, Trustee is authorized to
                distribute such S Corporation stock at such times and in such manner as
                required to preserve S Corporation status.      This may include non pro rata
                distributions in kind if required to maintain S Corporation status.


          (b)   If any stock of an S Corporation becomes distributable to a trust created under
                this Trust agreement, and such trust is not a qualified Subchapter S trust,
                Trustee may implement any of the following alternatives with respect to the S
                Corporation stock:




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            (1)   A Sole Beneficiary.     Where the original trust is for a sole beneficiary,

                  Trustee may create for that beneficiary a separate trust that qualifies as a
                  Subchaptcr S trust, and then distribute such stock to the newly created
                  trust.


            (2)   Multiple   Beneficiaries.    Where the original      trust is for multiple
                  beneficiaries, Trustee may divide the trust into separate trusts for each of
                  the beneficiaries.   Each newly created trust shall hold that beneficiary's
                  pro rata share of the S Corporation stock, and shall qualify as a Subchapter
                  S trust.


            (3)   Outright    Distribution.     If   circumstances    prevent   Trustee   from
                  accomplishing the first two alternatives under this paragraph, Trustee may,
                  in Trustee's sole and absolute discretion, distribute such stock to the
                  beneficiaries as if the trust had tern1inated, while continuing to hold any
                  other non-S Corporation property in trust.


            Each newly created S Corporation trust shall have mandatory distributions of
            income and shall not provide for powers of appointment that can be exercised
            by the beneficiary during the beneficiary's lifetime. In all other respects, the
            newly created trust shall be as consistent as possible with the original trusts
            and still qualify as a Subchapter S trust.


            Trustee may take any action necessary with regard to S Corporations,
            including making any elections required to qualify stock as S Corporation
            stock, and may sign all required tax returns and fonns.




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   4.3.28 Interest in Professio nal Practices. If the Trust owns any interest in a professional
          corporation or professional practice, then trustee powers as to such interest shall be
          limited so as to comply with applicable law and regulations. For example, only the
          professional practicing trustee ma y be able to exercise any ri ghts or powers over
          such interest.


   4.3.29 Continuation of Gifting Plan .     Trustee is authorized to continue any pattern of
          gifting begun by a Trustor if Trustee dcte1111ines, in Trustee's sole discretion, that
          such gifting is in accord with Trustor's prior wishes. If possible, this shall be done
          in such a way so as not to cause inclu sion of such gifts in Trustor's taxable estate.


   4.3.30 Tax Filings. Elections and Equitable Adjustments.             Trustee is authorized to
          represent the Trust in all tax matters, including but not limited to the preparation ,
          filing and signing of any state or federal income or estate tax returns as well as
          where appropriate, the request for extension to file returns and/or pay taxes. Trustee
          may also make all elections and take all other appropriate actions with respect to
          taxation of every kind applying to the Trust or to the Trustor indi vidually. Unless
          otherwise provided herein , such power may be exercised regardless of the effect of
          such exercise upon the comparative values of the distributive provi sions made under
          this Trust, and Trustee shall not be required to make any adjustment in the amount
          of any distribution in order to compensate for the effect of such exercise.


          Unless otherwise provided herein, Trustee may administer the Trust without regard
          to the income tax basis of specific property allocated to any beneficiary. Further,
          Trustee may, in its sole and absolute di screti on, exercise all elections with respect to
          allowable deductions on Trustor's estate tax returns or any necessary income tax
          returns, all without reimbursement either from or to Trustor's estate or any
          beneficiaries hereunder for taxes payable in respect of said elections.




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              However, unless otherwise pro vided herein, Tru stee may also make, m its
              di scretion. any equitable adjustments which may be necessary to permit
              beneficiaries with different tax brackets to share fa irly overall tax savings which
              may result from any distributions, tax savings elections or decisions which Trustee
              deems advisab le.


      4. 3.3 1 For purposes of the basis allocati on rul es as provided under Int ernal Revenue Code
              Section I 022, Trustee shall , to the exten t feasib le, given th e nature and extent of
              prope11y dist1ibuted to the beneficiaries provided for herein, allocate the aggregate
              basis increase (Internal Revenue Code Section 1022(b)(2)(B)) in reasonably
              equivalent shares to the beneficiaries.



                                          ARTICLE V
                                         ACCOUNTING

5.1   Trustee shall be relieved from the duties whi ch would otherwise be required by state law
      relating to accountings by Trustees in force at the time of the execution of thi s Agreement
      and any amendment or amendments th ereof, and any simil ar Act or Acts of this or any
      other j urisdiction ; and in lieu thereo f, Tru stee shall furnish to present beneficiaries, and if
      any beneficiary is a minor or under a legal di sab il ity then to the beneficiary's parent or
      guardian, a statement of accounting of administration upon reaso nable req ues t to do so.
      However, this requiremen t of accounting to beneficiaries shall not apply at any time Trustor
      is an acting Trustee.



                                          ARTICLE VI
                                          TRUSTEES

6.1 Initial Trustee shall be Trustor Ali Suleiman.         In the event of the death, incapacity (as
      defined in Paragraph 3.4 hereof), or resignati on of Trustor, Trustor's so n, Gordon T. J\.


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      Suleiman, shall be so le Trustee. In the event o f the death, incapacity, or resignati on of
      Gordon, Trustor's son, Am ir C. Suleiman, sha ll serve as the next alterna te an d successor
      Trustee.


      Un less stated otherw ise, this Article VI shall detem1ine the Trustees of all trusts created by
      thi s Trust.


6.2   Should a pri vate s uccessor so le Trustee have no named and qualified successor Trustee,
      such Trustee shall designate in a notarized statem en t who his or her successor shall be, and
      deliver a copy thereof to the so-designated successor Trustee and all curre nt beneficiaries,
      and if any beneficia ry is a minor or under a legal disability th en such notice shall be made
      to the benefici ary's parent or guardian. The right of designation granted in this paragraph
      includes the right to change such named successo r Trustee by giving no tice in the same
      manner, except th at if such d esignated successor Trustee has become the act in g Trustee, the
      ri ght to change Trustees gran ted in this paragraph shall become ineffective.


      In the event of the death, incapacity, or resignation of the last successor T rustee, and no
      successor Trustee has been designated, th e current beneficiaries (or their parent or
      guardian) shall have the right to vote for a s uccesso r Trustee or Trustees.                 Such
      beneficiaries may agree by unanimous vote who the successor Trustee or Trustees shall be,
      as well as who shall be the future successor Trustees.            In th e absence of unanimous
      agreement, the person or organization (on ly one shall be chosen) receiving the most votes
      shall be the successo r Trustee (i.e., a majority is not requi red) and the person or
      organi zation so chosen shall immediately designate in writing who their successor shall be.
      In the case of a tie, the benefici aries sha ll go through two more rounds of vo tin g until the tie
      is broken . If th ere is still a ti e, the oldest current beneficiary sha ll d esignate one other
      beneficiary to call "heads" or "tails" for one of the nominated trustees in the tie; th e oldest
      current beneficiary shall th en flip a coin and the next Successor Trustee shall be detc1111in cd
      by the call made by th e so designated beneficiary.




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6.3 Trustees named herein and successor Trustees shall not be required to furnish bond or other
      security for performance of their duties in any jurisdiction.


6.4   The authorized acts of any Trustee with regard to this Trust and its assets shall be fully
      binding on, and effective as to , all of the assets of the Trust without restriction and shall be
      b inding on all other Trustees.


6.5   Trustee shall be paid such compensat ion as is reasonable considering the time involved, the
      value and nature of the assets, and the expe11ise required.        Any Trustee or Co-Trustee
      entitled to such fees may wa ive all or any part of them. Trustee is additionally entitled to
      reimbursement for any and all reasonable out-of-pocket costs.


6.6   In the event any Trustee is called on to perfonn extraordinary services outside the normal
      range of duties, said Trustee shall be paid reaso nable and adequate compensation therefor,
      unless the Trustee or Co-Trustee entitled to such fee chooses to waive it.


6.7   Any Trustee, or designated successor Trustee, may resign trusteeship of this Trust by giving
      the Trustor a notice of resignation in a notarized statement no less than seven days in
      advance, or in the event Trustor is not alive and capable, by giving such written notice to
      the acting Trustee, named successor Trustees, and all present beneficiaries, and if any
      beneficiary is a minor or under a legal disability then such notice shall be made to the
      beneficiary's parent or guardian.     No Trustee, however, shall resign unless there is a
      designated successor.


6.8 Successor Trustees in every case shall succeed lo all the powers, authority, and discretion
      and be subject to all of the duties and responsibilities of each predecessor, but may accept
      the Trust Estate as offered at the Lime of succession and need not audit or inquire into the




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      activities of any predecessor Trustee in any way. Successor Trustees shall not be liable for
      any breaches of trust by preced ing fiduciaries.


6.9   In any event where th ere is only one acting Trustee, that Trustee shall have the option of
      requesting the next named qualified successor Trustee to act as Co-Trustee with him or her.
      The named successor Tru tee must in all cases be asked in the order in which named and
      the refusal to so act does not waive his or her right to act at a later time in the nonnal
      succession of Trustees as provided herein.


6.10 During the admini stration of this Trust by two Co-Trustees at any time other than when

      Truster may be serving with a Co-Trustee (Ref. Para. 2.5), th e Trustee powers may only be
      exercised hy, or the Trustee duties may only be carried o ut by, the ag reement of the two
      Co-Trustees, and all transactions shall be effective upon the act and signatures of the Co-
      Trustees jointly, unless specifica ll y provided otherwise herein.           In the event of
      disagreement, the two Co-Trustees shall each select an arbitrator and the two arbitrators
      shall select a third arbitrator. A decision shall be rendered by the three arbitrators within
      sixty days from the time that one Trustee rece ives notification from the other Trustee that
      arbitration is requested. The deci sion of the majo1ity of the arbit rators shall be final and
      binding on all parties. In the event a Co-Trustee fa il s to select an arbitrator within thirty
      days of receiving a request for arbitration, then the arbitrator appointed by the Co-Trustee
      requesting such arbitration shall decide the issue. If neither Co -Trustee selects an arbitrator
      withi n thirty days of such notification, then the arbitration proceedings must start from the
      beginning. Notices, instructi ons, and arbitration decisi ons provided for in this paragraph
      shall be in wri tin g.


6.11 During the administration of this Trust by more th an two Co-Trustees, unless spec ifically

      provided othe1wise herein, all Trustee powers and duties shall be exercised and all
      transactions shall be effective upon the acts and signatures of a majority of the Co-Trustees
      th en serving.




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6.12 A Co-Trustee m ay at any time, hy a notarized statement delivered to the other acting
      Trustee, delegate th e exercise of the Trustee powers to the other acting Trustee, and in like
      manner at any time revoke such delegation.        Any Trustee so delegating his powers shall
      receive no Trustee fees so long as those powers arc delegated.


6 .13 A Trustee shall not be batTed or disqualifi ed from acting in a fiduciary capacity oth er than
      and in addition to Trustee of this Trust in m atters and decisions hereunder, regardless of
      whether his or her interest co nflicts with those of any beneficiary, or whether he or she is
      acting alone or with other Trustees. Provided, however, that should a Trustee ever become
      both the so le T rustee and the sole beneficiary hereunder, he or she may not act alone, but a
      competent Co -Trustee shall be appointed by the existing Trustee in th e manner set forth in
      Paragraph 6.2 to act with him or her if there is no successor Trus tee named to so serve as a
      Co-Trustee, but this provision sha ll       not apply to th e period during which final
      administration and dist1ibution of thi s Trust is being made.


6.14 Under any prov1s1on established herein \Vhcre a Trustee is a lso a potential recipient of
      discretionary payments from principal, such decision as to principal payments shall be
      made solely by the Co-Trustee, or next named successor Trustee if there is no Co-Trustee.
      Such decision shal l be made acco rdin g to the stand ard s set forth in each case, and shall be
      in writing. However, th is shal l not apply as long as Trustor is li ving and capable.



                                ARTICLE VII
                         MISCELLANEOUS PROVISIONS

7.1   Any and every action taken in good fa ith by Trustee in the exercise of any power, authority,
      judgment or discretion shal l be conclu sive and binding upon the persons interested in the
      Trust. The enumeration of certai n powers of th e Trustee shall not limit the general powers.
      Trustee, subject always to the discharge of fiduciary obligations, is vested with and has all



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      the rights, powers, and privileges which an absolute owner of the same pro pe11y would
      have.


7.2   If at any ti me during which this Trust is in effect and th e acting Trustee is a corporate
      Trustee, the adult beneficiaiies of thi s Trust shal l have the ri ght, b y unanim ous decision, to
      change to a different corporate Trustee. Such decision shall be made by giv ing the ac ti ng
      corporate Trustee no less th an six mon ths notice o f intention to change. The acting Trustee
      may make the actual transfer as of the end of the calendar quarter in which the six month
      notification period ended.


7.3   If at any time any trust created by thi s Trust document has a va lue less than Twenty
      Thousand     Dollars    (S20,000.00)      then,   anything    contained   here in   to   the   contrary
      notwithstanding, Trustee shall have the op ti on of distributing the balance to th e
      beneficiaries, persons respon sible for the care of th e beneficiaries, or such other persons as
      th e Trustee shal l deem proper and in accordance with the objectives of thi s Trust.


7.4   Di stri butions to any beneficiary entitled thereto under th e te1111s of thi s Trust or th e
      Schedules may be m ade by the Trustee by deposit to th e credit of such beneficiary in any
      bank or brokerage account designated by him or her.              Ev idence of any such deposit by
      Trustee shall constitute a fu ll acquittance from the money so depos ited.


7.5   No twith standing anything herein contained to the co ntrary, any trust created by this
      instrument or its Schedules sha ll tern1inate within the period limited by the law of the state
      which controls said trust, or by the law of any state which controls an asset of that trust. In
      th e event any trust created herein shall exceed such peri od, it shall be deemed te1111i nated on
      the date limited by state law, and Trustee shall pay th e principal and accum ul ated income, if
      any, of such trust to th e beneficiaries then receiving distribution; but such tenni nation and
      di stri bution shall be onl y to the extent required by such state law, and all other provi sions of
      th e trust shall remain in full effect.




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7.6 The word "Trustee" as used anywhere herein shall mean and include a male, female, or
       corporate Trustee or any number or combinati on of Co-Trustees.


7. 7 In every case where Trustee is given discretionary power or directi on, Trustee's decision
       shall be in his, her, their, or its sole and abso lute discretion .



                                    ARTICLE VIII
                                  CONTROLLING LA \V

8. J   This Trust has been accepted by the Trustee in the State of Was hin gton , and its validity,
       construction and rights shall be governed by the laws of that State. If any provisions of this
       instrument arc unenforceable, the remaining provi sion s, ncve11heless, shall be carried into
       effect.



                  IN WITNESS WHEREOF, Trustor has subscribed th is Trust and its Schedules,
and as Trustee has accepted this Trust November 25 , 2003.




                                           ALI SULEIMA , TRUSTOR-TRUSTEE




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                             ALI SULEIMAN TRUST


                                         SCHEDULE A

               Refened to in, and hereby made a part of, the ALI SULEIMAN TRUST dated
November 25, 2003.



ASSETS

Trustor assigns to the Trust all interest in any and all assets without titl e documents,
personal valuables, art, jewelry, bearer bonds, bearer ce1iificates of any kind , personal
effects, household furniture and furnishings, personal vehicles, pleasure boats, and
similar articles of personal use which Trustor now has or may acquire in the future.


Cash in the amount of One Hundred Dollars (SI 00 .00).

All existing and future copyrights, settlements, judgments, undistributed inhe1itances, and legal
cluims not ye t asse11ed or finalized .




                                       Ali Suleiman




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                                          SCHEDULE B


                          DISTRIB UTIONS F ROM THE TRUST ESTA T E


                 Re ferred to in, and hereby m ade a pai1 of~ the ALI SULEIMAN T RUST dated
November 25, 2003.



                                        SECTION I
                                     TRUSTOR LIVING

8.1.1    Trustee shall pay to Trustor so much of the net income and principal of the Trust Estate
         as Trustor shall direct.


8.1.2    During any period in which Trustor is incapable of managing or directing his affa irs (as
         defined in Paragraph 3.4 of Article III) Trustee shall pay to, or fo r Trustor's benefi t, so
         much of the income or principal as Tru stee deems proper for the maintenance, care,
         support, comfort, and other nonnal activities of Trustor, in clud ing any herei n described
         beneficia1ies dependent upon him .


8 .1.3   During the period described in Paragraph 8 .1.2 of this Section, Trustee may discontinue
         any payments being made under Paragraph 8.1 . 1 of this Section.



                                        SECTION II
                                    TRUSTOR DECEASED

B.2.1    Es tate and Death Expenses. Upo n the death of Trustor, Trustee m ay pay all or part of the
         expenses of the last illn ess and funera l and any other remaining debts to the ex.tent that



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        funds are not available fro m other sou rc es. T he Trust Estate shall bear its proportionate
        share of all taxes assessed by reason of such death, provid ed that the proceeds from any
        qualified pensio n, profit sharin g or oth er reti rement plan shall not be used to pay such
        taxes or any estate ob li gati ons. Trustee is authorized to prepare and file al l necessary tax
        returns and to pay all transfer, inheritance, estate, succession or death taxes imposed by
        any taxing authority by reason of Trustor's dea th , whether attributable to property subject
        to probate administration or to outside transfers.         Any and all specific di stributi ons
        provided for in thi s Trust shall be di stributed in full and shall not be subject to any share
        of the above named taxes.        Unl ess otherwise stated in thi s Trust, all taxes, costs and
        expenses rel ati ve hereto shall be paid o ut of the residue of the T rust Estate without
        app011io nment, ded uction or reimbursement there for.


B.2.2   Person al Effects .    Upon the death of Trustor, any and all personal effects, household
        furniture and furni shings, persona l vehicles, pleasu re boats, and sim il ar ai1icles of
        personal use, together w ith any in surance thereon, are to be distributed as Trustor has
        designated in a written, signed and dated li st indicating who is to receive ce11ain items of
        personal effects. It shall be binding upon Trustee to carry out those directio ns contained
        in such list unle ·s th e intended recipient is not surviving.


        Should there be any remai ning perso nal effects thereafter, or in the event th ere is no such
        li st in existence at the time of Trustor's death, then such personal effects or the remainder
        thereo f, shall be distributed equally to those who are survi ving of Trustor's children,
        Gordon Tucker Ali Suleiman, Sofiah Omega Corcoran, Amir C lyde Suleiman, and Sarah
        Virginia Sul e iman _unless Trustor has provided otherwise in his last Will.


        If Trustor's surviving children do not agree ,vi thin one hundred twenty days from the date
        ofTrustor's death as to the division of th e personal effects, or if a child is un ab le to make
        such a choice because of a legal disability, Trustee shall distribute these personal effects
        to such child, children, orga nizations, or any other person or persons as Trnstee deems




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         appropriate. Such distribution shal l be in Trustee's sole and absolute discretion and shall
         be binding on all parties. Trustee is to have suitable documentation evidencing the fact
         that no agreement has been able to be reached between or among the children described
         above.


B .2.3   Remainder Trust Estate. The remainder Trust Estate shall continue to be administered up
         to one yea r after Trustor's death, at which time Trustee shall divide and allocate the Trust
         Estate into as many equal sh:::ires as there are then surviving children of Trustor and
         deceased children of Trustor who have surviving descend:::ints.


         Each share allocated to a sur\'iving child of Trustor shall be distributed to him or her at
         the time of allocation.


         Each share allocated to a deceased child of Trustor who has surviving descendants shall
         be divided as follows, and dis tributed under the provisions of Paragraph B.2.4: Each of
         the surviving children of a deceased child of Trustor (grandchildren of Trustor) shall
         receive an equal share, and the surviving children of any deceased grandchild of Trustor
         (great grandchildren of Trustor) shall divide a share equally.


8.2.4    Distribution to Grandchildren and Great Grandchildren . Unless otherwise indicated. each
         share allocated to a surviving grandchild or great grandchild of Trustor shall be
         distributed to him or her at the time of alloca ti on providing he or she has reached the age
         of twenty-one years. In the event a beneficiary has not reached the age of twenty-one
         years, then his or her share shall be held and administered as a sub-trust and Trustee shall
         use so much of the income or principal from the beneficiary's sub-trust as Trustee deems
         necessary for the beneficiary's maintenance, education, support and health to the age of
         twenty-one, considering the availability to the beneficiary of other sources of funds.
         Wl1en the beneficiary shall attain the age of twenty-one years, the remainder of his or her
         sub-trust shall be distributed to him or her.




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B.2 .5 Distribution Upon Death of a Beneficiary. Unless otherwise ind icated, in the event of the
         death of a beneficiary herein prior to receiving a complete and final distribution of a
         share he or she has been allocated, the remainder of such share shall be divided and
         allocated into as many equal shares as there are then surviving children of the deceased
         beneficiary and deceased children of the deceased beneficiary who have surviving
         children .


         B.2 .5.1     Each share allocated to a surviving child of the deceased beneficiary shall be
                      distributed to him or her under the di stributive prov isions of Paragraph B.2.4.


         B.2.5 .2     Each share allocated to a deceased child of the deceased henefic iary who has
                      surviving children shall be distributed in equal parts to said surviving children,
                      under the distributive provisions of Paragraph 8.2.4.


         Sho uld the beneficiary not have surviving descendants, as herein defined, the remainder
         of his o r her share shall be added equally to the shares, di stributed or not, of the
         beneficiary's then surviving brothers and sisters who were herein alloca ted shares and
         distributed as those shares have been or will be distributed; and if there be no such
         brothers or sisters, the said remainder shall be added equal ly to the shares allocated to
         Trustor's children, surviving and deceased, and distributed as those shares have been or
         will be distributed, but distributed only to then surviving beneficiaries.


B.2 .6   Benefici ary Emergency Expenses.           Unless otherwise indicated, in the event of an
         emergency arising out of sickness or accident to a child of Trustor p1ior to division of the
         remainder Trust Estate, Trustee may pay to such child , or for his or her benefit, such
         amounts of income or principa l from the Trust Estate as deemed necessary by Trustee,
         considering the avai lability to such child of other so urces of funds. Such di sbursements




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         shall be a charge against the share of the recip ient child of Trustor who received the
         disbursement if and when detennincd.


         After division of the Trust Estate into shares, Trustee may make such emergency
         distributions from any beneficiary's share being hel<l in trust for that beneficiary.


B.2 .7   Beneficiary Death Expenses. Unless otherwise indicated, in the event of the death of a
         child of Trustor prior to division of the remainder Trust Estate, Trustee may pay from the
         Trust Estate all or pmt of the expenses of said child's last illness and funeral and any
         other remaining debts to the extent that fund s are not available from other sources.


         Trustee may make such disbursements from any deceased beneficiary's share, including a
         prop01iionate share of all taxes assessed by reason of the beneficiary's death, should the
         Tru st be divid ed in such a manner that a specific share has been allocated to th e deceased
         beneficiary.


B.2.8    Di strib uti o n to Beneficiary's Living Trust. Any and all distributi ons to a beneficiary who
         has his or her own li ving Trust may be distributed to the Trustee of such Trust rather th an
         direct ly to such beneficiary upon written requ est by such beneficiary. However, any such
         di stributions to a Trust shal l be governed by the same terms and conditions as provided in
         this Trust as to di stri butions.


8.2.9      one of the Above Beneficiaries Surviving.           In the event none of the foregoing
         beneficiary di stribution provisions arc applicable at any time prior to a complete and final
         distribution of the Trust Estate, Trustee shall distribute the Trust Estate, or the remainder
         thereof, to the legal heirs of Trustor under the laws of the contro lling State of this Trust.
         Distribution shall be per stirpes, subject to the distributive pro visions of Paragraph B.2.4.




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                                   SECTION III
                               GENERAL PROVISIONS

B.3.1   Children. The tern, "children" as used in this Trust in reference to Truster's children shall
        mean and include Gordon Tucker Ali Suleiman, born March 18, 1965; Sofiah Omega
        Corcoran, born December 30, 1966; Amir Clyde Suleiman, born June 2, 1971; and Sarah
        Virginia Suleiman, born May 23, 1978 . As used elsewhere in this Trust all fonns of the
        tenns "children" and "descendants" shall mean and include any and aJI children born to o r
        legally adopted by beneficiaries named or described herein ; however, a child of a

        beneficiary legaJly adopted by a party other th an the spo use of the beneficiary, and his or
        her descendants, sha ll not be included in the definition of children as used herein, nor
        shall a person, and hi s or her descendants, who is eighteen years or older when adopted
        by any beneficiary herein.



8 .3.2 The meanings of the terms "minor" , "legal age" and "legal disability" as used herein shall
        be those meanings attributed to those tem1s by the state law controlling thi s Trust as it

        exists each time a question arises and no t the state law as it existed at the time this Trust
        was s igned, and regardless of the state of resi dency or domicile of the beneficiary.



8.3 .3 Unless otherwise indicated, the meaning of the tenn "education" as used in this Schedule
        8 shall include college, university, graduate or vocational school and all other types of
        general educational training as well as elementary, high school, and preparatory
        schooling, including such travel and other costs as are necessary.


B.3.4   Regardless of any distribution provisions set forth in this Trust document, Trustee ma y
        retain sufficient assets in the Trust after Truster's death until taxes and other liabiliti es
        have been fully detennined and paid.            Trustee may also make distributions to
        beneficiaries of this Trust during the one year administration period set forth in Section II




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         in Trustee's sole and absolute discretion. Such di sbursements shall be a charge against
         the share of the recipient beneficiary who received the di sbursement.


B.3.5    Divisions and distributions of the Trust Estate shall be based on the fair market value of
         the assets on the date of death , less encumbrances, and need not be an interest in every
         asset, unless specifically provided otherwise herein , but may be made in money or other
         assets, or partly in each, as is deemed practicab le, in Trustee's sole and absolute
         discretion, for the carrying out of the objectives stated herein, notwithstanding anything
         contained herein to the contrary.      Special valuations granted by State or Federal
         authorities may be considered in detennining "fair market value" under this paragraph .
         For example, state "Open Space" assessment value or I.R.C. §2032A valuation may be
         considered in detennining "fair market value".


B.3 .6 No share or interest in principal or income of this Trust shall be li able for the debts of any
         beneficiary nor subject to the process of seizure o f any court, nor an asset in th e
         bankruptcy of any beneficiary; and no beneficiary hereunder shall have the power to
         anticipate, alienate, or encumber his or her interest in the Trust Estate or in the income
         therefrom.


B.3.7    During the administration of any trust created by this instrument , the undistributed net
         income shall be added to the principal at interval s convenient to the Trustee but at least
         annually.


B. 3.8   Generation Skipping. Trustee shall establish separate Trusts for any allocation to persons
         defined as "skip-persons" under Sections 26 l 3(a) and 2651 (cl) of the Intern al Revenue
         Code.   All such Trusts shall be adm ini stered as provided herein and shall bear their
         proportionate share of expenses and taxes.




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       If by virtue of the allocation of any federal generation-skipping transfer tax exemption
       ("GST exemption") to any trust created under this Trust, such trust would have a
       generation-skipping transfer tax inclusion ratio other than one ( 1) or zero (0), the Trustee
       before such allocation shall create or divide such trust into two (2) separate trusts which
       are fractional shares, known as the "exempt trust'' and the "nonexempt trust."            The
       exempt trust is that fractional share of the total trust fund that has a generation-skipping
       transfer tax inclusion ratio of zero (0), and the nonexempt trust is the remaining fractional
       share of the trust, with a generation-skipping transfer tax inclusion ratio of one (I). The
       tenns and conditions of the nonexempt trust and the exempt trust will be identical. Any
       reference to a trust created under this article, without a further specification or limitation
       shall be deemed to refer to both each exempt trust and each nonexempt trust, in
       proportionate amounts, where relevant.


       No Trustee or personal representative will in any event be liable to any beneficiary or any
       other person for any additional death taxes, penalties, or interest, or other losses incurred
       by any person (including Trustor's estate) on account of having made or refrained from
       making any election or allocation related to Generation Skipping Transfers, unless it can
       be established that they acted in bad faith or with gross negligence.         No Trustee or
       personal representative shall be required to make any compensating adjustments bet\veen
       income or principal or between any beneficiaries because of the results of making or
       refraining from making any election or allocation related to Generation Skipping
       Transfers.


B.3.9 At any time, any beneficiary of this Trust may waive his or her right to all or pai1 of any
       distribution that may he or become due to him or her by giving notice to the Trustee in a
       w1itten notarized statement. The effect of such waiver will be thai the distribution or
       distributions which would have been made to the waiving beneficiary will be made to
       such beneficiaries as this Trust provides for in the event the waiving beneficiary was
       deceased.




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B.3.10 In any case where th e provisions of thi s Trust call for distributions to benefi ciaries, any
         beneficiary shal l have the option of instructing the Trustee to not make one or more
         distributions to him or her. By doin g so the beneficiaiy does not waive or relinquish his
         or her right to any other distributions to which he or she is entitled. In structions to the
         Trustee shall be in a written notari zed statement and shall state the person, persons, or
         organizations to whom the di stributi on or distri buti ons shall be made and when (which
         shall not be prior to the dist1ibuti on date provided in thi s Trust Agreement) , or shall
         indi cate the beneficiary's in-evocable relinquishment of the distribution or distributions.
         The beneficiary may modify or revoke the instructions to Trustee at any time prior to the
         distributions unl ess the in structions were originally indicated to be irrevocable. Trustee
         shall have the right to approve or rt:j ect any w1itten designations or in structions
         authorized in this paragraph .


B.3.1 1 Transfers to Minors. Unless otherwise indicated, al l transfers and distributions to minors
         shall be made to a custodian under the Unifonn Transfers to Minors Ac t as amended, or
         sim il ar law if app licable. This paragraph may be nullified onl y if the relevant language
         specifically states that such transfer or dist1ibution shall be held in Trust. The Trustee
         making such transfer or distribution rnay serve as custodian.


B.3.12    o Contest Clause. If any of Trustor's stat utory heirs, any beneficiary mentioned or
         referred to in thi s Trust or for whom or for whose benefit Trustor has made any provision
         in this Trust, or any other person shall in any manner contest in any com1 or before any
         tribunal, thi s Trust or the validity thereof, or its due and proper executi on, or the
         provisions ap pl icable to him or her, or any otl1cr provision of this Trust, or shall in any
         way question Trustor's acts in making this Trust or any of its prov isions, or fi le any cl aim
         against this Trust exceed ing One Hundred Dollars (S I 00.00) then, in that event, such
         beneficiary or heir shall forfei t and cease to have any right, title or interest in or to any
         po11ion of the Trust Estate or any property given under this Trust or any income from




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     such property, and any and all provisions of this Trust in favor of or for the benefit of
     such beneficiary or heir are revoked. Hmvever, this shall not be construed as preventing
     any beneficiary from contesting the reasonab leness of compensation paid to Trustee.




                                  Ali Suleiman




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                                         ACKNOWLEDGMENT



STATE OF WASHINGTON,                      )
                                          ) ss.
County of King,                           )



              On this day personally appeared before me ALl SULEIMAN to me known to be
the individual described in and \Vho executed the within and foregoi ng ALI SULEIMAN TRUST
and its SCHEDULES and acknowledged that he signe<l the same as his free and voluntary act
and deed for the uses and purposes there in mentioned.


              GIVEN under my hand and official seal November 25, 2003.




                    *MARK D. ALBERTSON*
                     NOTARY PUBLIC
                    STATE OF WASHINGTON            NOTARY PUBLJC: Mark D. Albertson
                    COMMISSION EXPIRES                      State of Washington, resid ing in Kent
                      DECEMBER 25 2005
                  ~ , - - p -.......iir-,iir...;;;..,...-"- My appointment expires 12-25-05




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                     ALI SULEIMAN TRUST

                                AMENDMENT ONE

               TRUSTOR, ALI SULEIMAN, pursuant to the rights reserved by Trustor in
Article II, Paragraph 2.1 of the ALI SULEIMAN TRUST dated November 25, 2003, hereby
amends and modifies said Trust as follows, as to his interest in the Trust.



The following Paragraphs 4.3.30 - 4.3.31 are hereby modified and amended in their entirety to
read as follows:


     4.3.30 Tax Filings. Elections and Equitable Adjustments.            Trustee is authorized to
             represent the Trust in all tax matters, including but not limited to the preparation,
             filing and signing of any state or federal income or estate tax returns as well as
             where appropriate, the request for extension to file returns and/or pay taxes. It is the
             Trustors' intent that this instrument conform to applicable laws that would create the
             maximum reduction in their joint estate taxes, income taxes, gift taxes and the fees
             of administering this trust without defeating its dispositive provisions or otherwise
             impairing the substantive rights of trust beneficiaries. The Trustee therefore has sole
             discretion to make any and all tax elections and take all other appropriate action
             with respect to taxation of every kind applying to the Trustors, the Trust and its
             beneficiaries. Unless otherwise provided herein, such power may be exercised
             regardless of the effect of- such exercise upon the comparative values of the
             distributive provisions made under this Trust, and Trustee shall not be required to
             make any adjustment in the amount of any distribution in order to compensate for
            the effect of such exercise.



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          Unless otherwise provided herein, Trustee may administer the Trust without regard
          to the income tax basis of specific property allocated to any beneficiary. Further,
          Trustee may, in its sole and absolute discretion, exercise all elections with respect to
          allowable deductions on Trustors' estate tax returns or any necessary income tax
          returns, all without reimbursement either from or to Trustors' estate or any
          beneficiaries hereunder for taxes payable in respect of said elections.


          Unless otherwise provided herein, Trustee may also make, in its discretion, any
          equitable adjustments which may be necessary to permit beneficiaries with different
          tax brackets to share fairly overall tax savings which may result from any
          distributions, tax savings elections or decisions which Trustee deems advisable.


          However, for purposes of the basis allocation rules as provided under Internal
          Revenue Code Section 1022, Trustee shall, to the extent feasible, given the nature
          and extent of property distributed to the beneficiaries provided for herein, allocate
          the aggregate basis increase (Internal Revenue Code Section 1022(b)(2)(B)) in
          reasonably equivalent shares to the beneficiaries.


    4.3.31 Amendments and Reformation. The Trustors recognize that the laws relating to
          taxation change from time to time and that they may inadvertently fail to amend this
          Trust to take advantage of these changes. Accordingly, to the extent permitted by
          law, the Trustee may amend this document or petition a court of competent
          jurisdiction to reform this instrument for the purpose of conforming its provisions to
          those laws that would favorably affect any tax liability otherwise accruing to the
          Trustors or their respective estates, or that would substantially reduce the costs of
          administering this Trust, provided that such amendment or reformation is otherwise
          consistent with dispositive provisions of this Trust and does not otherwise impair
          the substantive rights of trust beneficiaries. If no definitive law exists on the



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                                                                 HOOVER000217
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                                                                 HOOVER000218
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                        ALI SULEIMAN TRUST

                                  AMENDMENT TWO



        FIRST:     ARTICLE III, PARAGRAPH 3.4

                            IN CAP A CITY OF TRUS TOR



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        SECOND:    SCHEDULE B            DISTRIBUTIONS FROM THE TRUST ESTATE


                            SECTION II         TRUSTOR DECEASED




        THIRD:     SCHEDULE B, SECTION II, PARAGRAPH B.3.5

                            ALLOCATION AND DIVISION OF ASSETS




        ACKNOWLEDGMENT



',_ .
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                             ALI SULEIMAN TRUST

                                     AMENDMENT TWO


                TRUSTOR ALI SULEIMAN, pursuant to the rights reserved by Truster in Article
II, Paragraph 2.1 of the ALI SULEIMAN TRUST dated November 25 , 2003 , hereby amends and
modifies said Trust as follows.



FIRST: Paragraph 3.4 of ARTICLE III is hereby modified and amended in its entirety to read as
follows:


3.4   ncapacity of Trustee. If an acting Trustee, because of disability or incapacity, is incapable
      of managing or directing the Trust affairs, such Co-Trustees or successor Trustee as is
      designated in Paragraph 6.1 to continue or assume the responsibilities of Trustee shall,
      assume full duties as Trustee for such time as the disability or incapacity continues to exist.
      If the Truster is declared disabled or incapacitated, as provided herein, the powers reserved
      by Truster in Article II hereof shall be suspended as to the Truster during such disability or
      incapacitation. Restoration of capacity or elimination of such disability, shall reinstate
      Truster's or Trustee's standing.


      Disability or incapacity shall include inability on the part of the Truster to manage the Trust
      property effectively for reasons such as mental illness, mental deficiency, physical illness or
      disability, advanced age, chronic use of drugs, chronic intoxication, confinement, detention
      by a foreign power or terrorists, or disappearance.       For purposes herein, disability or
      incapacity, or the restoration of such condition, may be evidence by written statements from
      two physicians or by two other persons' written statements attesting to such confinement,




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     detention or disappearance. Incapacity may also be established by a finding of a court
     having jurisdiction over the incapacitated Trustor or Trustee.


     Notwithstanding anything contained herein to the contrary, Trustor authorizes the Trustee,
     Co-Trustees or the next successor Trustee to act as a personal representative of a
     Trustor under 45 CFR 164.502(g) to direct either Trustor' s physician to conduct an
     examination to determine such Trustor' s capacity. Trustor' s physician shall be released
     from any and all liability that might attach under the Health Insurance Portability and
     Accountability Act of 1996 (HIPAA), 42 USC 1320d and 45 CFR 160-164 for conducting
     such examination and communicating its results to the acting Co-Trustee or next alternate
     successor Trustee.



SECOND: SCHEDULE B, SECTION II is hereby modified and amended in its entirety to read
as follows:


                                   SECTION II
                               TRUSTOR DECEASED

B.2.1 Estate and Death Expenses. Upon the death of Trustor, Trustee may pay all or part of the
       expenses of the last illness and funeral and any other remaining debts to the extent that
       funds are not available from other sources. The Trust Estate shall bear its proportionate
       share of all taxes assessed by reason of such death, provided that the proceeds from any
       qualified pension, profit sharing or other retirement plan shall not be used to pay such
       taxes or any estate obligations. Trustee is authorized to prepare and file all necessary tax
       returns and to pay all transfer, inheritance, estate, succession or death taxes imposed by
       any taxing authority by reason of Trustor's death, whether attributable to property subject
       to probate administration or to outside transfers.      Any and all specific distributions
       provided for in this Trust shall be distributed in full and shall not be subject to any share
       of the above named taxes. Unless otherwise stated in this Trust, all taxes, costs and



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       expenses relative hereto shall be paid out of the residue of the Trust Estate without
       apportionment, deduction or reimbursement therefor.


B.2.2 Personal Effects. Upon the death of Trustor, any and all personal effects, household
       furniture and furnishings, personal vehicles, pleasure boats, and similar articles of
       personal use, together with any insurance thereon, are to be distributed as Trustor has
       designated in a written, signed and dated list indicating who is to receive certain items of
       personal effects. It shall be binding upon Trustee to carry out those directions contained
       in such list unless the intended recipient is not surviving.


       Should there be any remaining personal effects thereafter, or in the event there is no such
       list in existence at the time of Trustor's death, then such personal effects or the remainder
       thereof, shall be distributed equally to those who are surviving of Trustor's children,
       Gordon Tucker Ali Suleiman, Sofiah Omega Corcoran, Amir Clyde Suleiman, and Sarah
       Virginia Suleiman, unless Trustor has provided otherwise in his last Will.


       If Trustor' s surviving children do not agree within one hundred twenty days from the date
       of Trustor's death as to the division of the personal effects, or if a child is unable to make
       such a choice because of a legal disability, Trustee shall have full authority to make an
       equitable division of such property to such children pursuant to the preceding paragraph,
       giving preference where possible to their desires, or to sell all or any part of such articles
       and distribute such proceeds among such children. Trustee is authorized to sell any or all
       such property to one or more of such children or to others.


B.2.3 Remainder Trust Estate. The remainder Trust Estate shall continue to be administered up
       to one year after Trustor's death, at which time Trustee shall divide and allocate the Trust
       Estate into as many equal shares as there are then surviving children of Trustor and
       deceased children of Trustor who have surviving descendants.




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       Each share allocated to a surviving child of Trustor shall be distributed to him or her at
       the time of allocation.


       Each share allocated to a deceased child of Trustor who has surviving descendants shall
       be divided as follows, and distributed under the provisions of Paragraph B.2.4: Each of
       the surviving children of a deceased child of Trustor (grandchildren of Trustor) shall
       receive an equal share, and the surviving children of any deceased grandchild of Trustor
       (great grandchildren of Trustor) shall divide a share equally.


B.2.4 Distribution to Grandchildren and Great Grandchildren. Unless otherwise indicated, each
       share allocated to a surviving grandchild or great grandchild of Trustor shall be
       distributed to him or her at the time of allocation providing he or she has reached the age
       of twenty-one years. In the event a beneficiary has not reached the age of twenty-one
       years, then his or her share shall be held and administered as a sub-trust and Trustee shall
       use so much of the income or principal from the beneficiary's sub-trust as Trustee deems
       necessary for the beneficiary's maintenance, education, support and health to the age of
       twenty-one, considering the availability to the beneficiary of other sources of funds.
       When the beneficiary shall attain the age of twenty-one years, the remainder of his or her
       sub-trust shall be distributed to him or her.


B.2.5 Distribution Upon Death of a Beneficiary. Unless otherwise indicated, in the event of the
       death of a beneficiary herein prior to receiving a complete and final distribution of a
       share he or she has been allocated, the remainder of such share shall be divided and
       allocated into as many equal shares as there are then surviving children of the deceased
       beneficiary and deceased children of the deceased beneficiary who have surviving
       children.


       B.2.5 .1 Each share allocated to a surviving child of the deceased beneficiary shall be
                   distributed to him or her under the distributive provisions of Paragraph B.2.4.



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Case 20-04002-MJH          Doc 43-1     Filed 08/07/20     Ent. 08/07/20 00:05:14 Pg. 43 of 67
      B.2.5.2   Each share allocated to a deceased child of the deceased beneficiary who has
                surviving children shall be distributed in equal parts to said surviving children,
                under the distributive provisions of Paragraph B.2.4.


      Should the beneficiary not have surviving descendants, as herein defined, the remainder
      of his or her share shall be added equally to the shares, distributed or not, of the
      beneficiary's then surviving brothers and sisters who were herein allocated shares and
      distributed as those shares have been or will be distributed; and if there be no such
      brothers or sisters, the said remainder shall be added equally to the shares allocated to
      Truster's children, surviving and deceased, and distributed as those shares have been or
      will be distributed, but distributed only to then surviving beneficiaries.


B.2.6 Debts Owed by Gordon T. A. Suleiman. It is acknowledged that Truster has loaned
      Truster's son, Gordon T. A. Suleiman, funds currently in the amount of $231 ,701.22, as
      evidenced by that certain Promissory Note dated June 2, 2009. Such balance shall be a
      charge against Gordon ' s distributive share of the Trust Estate.


B.2.7 Beneficiary Emergency Expenses.         Unless otherwise indicated, in the event of an
      emergency arising out of sickness or accident to a child of Truster prior to division of the
      remainder Trust Estate, Trustee may pay to such child, or for his or her benefit, such
      amounts of income or principal from the Trust Estate as deemed necessary by Trustee,
      considering the availability to such child of other sources of funds. Such disbursements
      shall be a charge against the share of the recipient child of Truster who received the
      disbursement if and when determined.


      After division of the Trust Estate into shares, Trustee may make such emergency
      distributions from any beneficiary's share being held in trust for that beneficiary.




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Case 20-04002-MJH        Doc 43-1     Filed 08/07/20     Ent. 08/07/20 00:05:14 Pg. 44 of 67
    B.2.8 Beneficiary Death Expenses. Unless otherwise indicated, in the event of the death of a
            child of Trustor prior to division of the remainder Trust Estate, Trustee may pay from the
            Trust Estate all or part of the expenses of said child's last illness and funeral and any
            other remaining debts to the extent that funds are not available from other sources.


            Trustee may make such disbursements from any deceased beneficiary's share, including a
            proportionate share of all taxes assessed by reason of the beneficiary's death, should the
            Trust be divided in such a manner that a specific share has been allocated to the deceased
            beneficiary.


    B.2.9 Distribution to Beneficiary's Living Trust. Any and all distributions to a beneficiary who
            has his or her own living Trust may be distributed to the Trustee of such Trust rather than
            directly to such beneficiary upon written request by such beneficiary. However, any such
            distributions to a Trust shall be governed by the same terms and conditions as provided in
            this Trust as to distributions.

    B.2.10 None of the Above Beneficiaries Surviving.            In the event none of the foregoing
            beneficiary distribution provisions are applicable at any time prior to a complete and final
            distribution of the Trust Estate, Trustee shall distribute the Trust Estate, or the remainder
            thereof, to the legal heirs of Trustor under the laws of the controlling State of this Trust.
            Distribution shall be per stirpes, subject to the distributive provisions of Paragraph B.2.4.



    THIRD: Paragraph B.3.5, of SECTION III, SCHEDULE B, is hereby amended and restated in
    its entirety as follows:


    B.3.5 Allocation and Division of Assets. In making distributions of the remainder trust estate,
'
            Trustee may allocate particular assets, or portions thereof, or undivided interests therein,
            to any one or more of the beneficiaries named herein without regard to any pro-rata
            method of distribution and without regard to the income tax basis of specific property



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           allocated to any beneficiary. Accordingly distributions may be made in money or other
           assets, or partly in each, and need not be an interest in every asset, unless otherwise
          provided herein. This power of "non pro-rata" allocation shall be made in Trustee' s sole
           and absolute discretion. All divisions and distributions of the remainder estate shall be
           based on the fair market value of the assets, less encumbrances.      Special valuations
           granted by State or Federal authorities may be considered in determining "fair market
           value" under this paragraph. For example, State "Open Space" assessment value or
           I.R.C. §2032A valuation may be considered in determining "fair market value".



                  IN WITNESS WHEREOF, Truster hereby ratifies and confirms this Trust and its
    Schedules, as amended, and as Trustee hereby assents to this Amendment Two on June 2, 2009.




                                        ALI SULEIMAN, TRUSTOR-TRUSTEE




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    Case 20-04002-MJH       Doc 43-1     Filed 08/07/20    Ent. 08/07/20 00:05:14 Pg. 46 of 67
                                            ACKNOWLEDGMENT




        STATE OF WASHINGTON,                 )
                                             ) ss.
        County of King,                      )
    •


                      On this day personally appeared before me ALI SULEIMAN to me known to be
        the individual described in and who executed the within and foregoing AMENDMENT TWO of
        the ALI SULEIMAN TRUST and its SCHEDULES and acknowledged that he signed the same
        as his free and voluntary act and deed for the uses and purposes therein mentioned.


                      GIVEN under my hand and official seal June 2, 2009.




                                                      the State of Washington
                                             My appointment expires 12-19-2011




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                ALI SULEIMAN TRUST

                        AMENDMENT THREE



FIRST:     ARTICLE VI, PARAGRAPH 6.1

                    TRUSTEES

SECOND:    ARTICLE VII, PARAGRAPH 7.6

                    INCAPACITY OF TRUSTOR

THIRD:     SCHEDULE B, SECTION II,

                    TRUSTOR DECEASED



ACKNOWLEDGMENT


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                             ALI SULEIMAN TRUST

                                   AMENDMENT THREE


                TRUSTOR ALI SULEIMAN, pursuant to the rights reserved by Trustor in Article
II, Paragraph 2.1 of the ALI SULEIMAN TRUST dated November 25, 2003 , hereby amends and
modifies said Trust as follows, as to his interest in the Trust.



FIRST: Pursuant to the provisions of Paragraph 6.1 of ARTICLE VI, said Paragraph is hereby
modified and amended in its entirety, to read as follows:


6.1   Acting and Successor Trustees. Acting Trustee is Trustor Ali Suleiman. In the event of the
      death, incapacity (as defined in Paragraph 3.4 hereof), or resignation of Trustor Ali
      Suleiman, Trustor's son, Amir C. Suleiman, and Trustor's daughter, Sarah V. Hoover, shall
      be Co-Trustees. In the event of the death, incapacity, or resignation of either Amir or
      Sarah, Trustor's daughter, Sofiah 0. Corcoran, shall be Co-Trustee in his or her place.
      Thereafter in the event of the death, incapacity, or resignation of a Co-Trustee, the
      remaining Co-Trustee shall be sole Trustee.


      Unless stated otherwise, this Article VI shall determine the Trustees of all trusts created by
      this Trust.


SECOND: Paragraph 7.6 is hereby modified and amended in its entirety to read as follows:


7.6 Form of Term "Trustee". The word "Trustee" as used anywhere herein shall mean and
      include a male, female, or corporate Trustee or any number or combination of Co-Trustees.



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     For purposes herein, a corporate Trustee shall be defined as a business consisting of one or
     more professionals who actively and regularly engage in serving as Trustee on an annual
     basis. Such professional shall either be a certified public accountant or attorney licensed to
     practice in the State of Washington or a chartered bank or trust company authorized to do
     business in the State of Washington with minimum capital assets of One Hundred Million
     Dollars ($100,000,000.00).



THIRD SECTION II, SCHEDULE B, is hereby modified and amended in its entirety to read as
follows:



                                    SECTION II
                                TRUSTOR DECEASED

               Trustor wishes it to be known that he was originally married to AFRIDAH
GERUNG SULEIMAN, and she is now deceased. Trustor is now married to NURHASINAH
SULEIMAN, and Trustor hereby excludes her from receiving any benefits or distributions of any
kind from the Trust Estate.

B.2.1 Debts, Estate Administrative, and Death Expenses. Upon the death of Trustor, Trustee
       may pay all or part of the expenses of the last illness and funeral, any and all
       administrative expenses and any other remaining debts to the extent that funds are not
       available from other sources. Unless otherwise provided herein or unless otherwise paid
       from other sources, any and all such expenses as well as all inheritance, estate, transfer,
       succession or death taxes imposed by any taxing authority by reason of Trustor's death,
       whether attributable to property subject to probate administration or to non probate
       transfers, shall first be paid out of the residue of the Trust Estate as an expense of the
       administration thereof, without apportionment, deduction or reimbursement from any
       charitable or specific bequests, and only thereafter, to the extent the residue is insufficient
       to pay for such taxes and expenses, proportionately from any charitable or specific


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      bequests. Any additional taxes and expenses exceeding the value of any charitable or
      specific bequests shall thereafter be apportioned or deducted proportionately from any
      non probate transfers. Any proceeds from any qualified pension, profit sharing or other
      retirement plan shall not be used to pay such taxes or any estate obligations.


B.2.2 Personal Effects. Upon the death of Trustor, any and all personal effects, household
      furniture and furnishings , personal vehicles, pleasure boats, and similar articles of
      personal use, together with any insurance thereon, are to be distributed as Trustor has
      designated in a written, signed and dated list indicating who is to receive certain items of
      personal effects. It shall be binding upon Trustee to carry out those directions contained
      in such list unless the intended recipient is not surviving.


      Should there be any remaining personal effects thereafter, or in the event there is no such
      list in existence at the time of Trustor's death, then such personal effects or the remainder
      thereof, shall be distributed equally to those who are surviving of Trustor's children,
      Sofiah Omega Corcoran, Amir Clyde Suleiman, Sarah Virginia Hoover, and Trustor's
      granddaughter, Jaimie Elizabeth Suleiman, unless Trustor has provided otherwise in his
      last Will.


      If Trustor's surviving beneficiaries do not agree within one hundred twenty days from the
      date of Trustor's death as to the division of the personal effects, or if a beneficiary is
      unable to make such a choice because of a legal disability, Trustee shall have full
      authority to make an equitable division of such property to such beneficiaries pursuant to
      the preceding paragraph, giving preference where possible to their desires, or to sell all or
      any part of such articles and distribute such proceeds among such beneficiaries. Trustee
      is authorized to sell any or all such property to one or more of such beneficiaries or to
      others.




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       With respect to the share of a minor or a beneficiary under a legal disability, Trustee shall
       have the authority to place assets in safekeeping for the beneficiary until he or she
       reaches legal age or deliver all, or any part thereof, to the guardian of his or her person.


       All reasonable expenses incurred for storage, packing, shipping, delivery or insurance of
       such tangible personal property on or before the expiration of one hundred twenty days
       from the date of Trustor's death shall be charged as an administrative expense of the
       Trust.


B.2.3 Specific Distributions. As soon as practicable after Trustor' s death, Trustee shall make
       the following specific distributions:


       B.2.3 .1   Residence. Trustor and the Trust Estate has held title to the property located at
                  18205 1061h Street East, Bonney Lake, Washington, and Trustor is currently
                  named as co-signer or Surety on the primary residence loan executed by Sarah
                  and primary lender for the purposes of securing financing on said property for
                  Sarah. Accordingly, as soon as practicable after the death of Trustor, Trustee
                  shall distribute any and all interest Trustor, or the Trust Estate, may have in that
                  certain residence and real property located at 1061h Street East, Bonney Lake,
                  Washington, to Trustors' daughter, Sarah V. Hoover, if she is surviving. This
                  distribution shall be in addition to Sarah' s distributive share of the remainder
                  Trust Estate and will carry with it any obligations against the residence. In the
                  event Sarah is not surviving at the time of Trustor' s death, or this residence and
                  real property is not a part of the Trust Estate at the time of Trustor's death, this
                  distribution shall lapse and be null and void.


                  Additionally, to the extent that Trustor or the Trust Estate is responsible for
                  paying for any or all part of such loan, such amount shall be considered a loan




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Case 20-04002-MJH         Doc 43-1      Filed 08/07/20     Ent. 08/07/20 00:05:14 Pg. 52 of 67
               by Trustor or the Trust Estate to Sarah, shall be considered an asset of the Trust
               and specifically allocated to Sarah as a part of her share of the remainder Trust.


     B.2.3.2   Jaimie E. Suleiman. Trustor has previously loaned money to Trustor' s son,
               Gordon T. Suleiman, in the amount of approximately Two Hundred and
               Twenty Thousand Dollars ($220,000.00), which was unpaid at the time of
               Gordon' s death (date of death 12/26/2010). It is Trustor' s wish to allocate the
               share that would have otherwise been allocated to Gordon upon Trustor' s death
               to Gordon' s daughter, Jaimie E. Suleiman.        Such share however shall be
               reduced in recognition of the fact that Gordon has already received the sum of
               Two Hundred Twenty Thousand Dollars ($220,000.00).


               Accordingly, Trustor allocates to Trustor' s granddaughter, Jaimie E. Suleiman,
               an amount equal to twenty-five percent (25%) of the Adjusted Trust Estate less
               Two Hundred and Twenty Thousand Dollars ($220,000.00).               For purposes
               herein, the Adjusted Trust Estate shall mean the remainder Trust Estate plus
               Two Hundred and Twenty Thousand Dollars ($220,000.00).


               The amount allocated to Jaimie shall be distributed to her under the provisions
               of Paragraph B.2.5 .


               In the event Jaimie is not surv1vmg at the time of allocation, the amount
               allocated to her shall be divided and allocated into as many equal shares as she
               has then surviving children


               Each share allocated to a child of Jaimie (great grandchild of Trustor) shall be
               distributed in equal parts to said surviving children under the provisions of
               Paragraph B.2.5.




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Case 20-04002-MJH      Doc 43-1       Filed 08/07/20    Ent. 08/07/20 00:05:14 Pg. 53 of 67
                 In the event Jaimie is not surv1vmg at the time of allocation and has no
                 surviving children, the amount allocated to Jaimie shall lapse and be null and
                 void.


B.2.4 Remainder Trust Estate. The remainder Trust Estate shall continue to be administered up
       to one year after Trustor's death, at which time Trustee shall divide and allocate the Trust
       Estate into three equal shares as follows:


       B.2.4.1   Sofiah Omega Corcoran.         One share (1) shall be distributed outright to
                 Trustor' s daughter, Sofiah Omega Corcoran, if she is surviving.


       B.2.4.2   Amir Clyde Suleiman. One share (1) shall be distributed outright to Trustor' s
                 son, Amir Clyde Suleiman, if he is surviving.


       B.2.4.3   Sarah Virginia Suleiman.        One share (1) shall be distributed outright to
                 Trustor' s daughter, Sarah Virginia Suleiman, if she is surviving.


       B.2.4.4   Beneficiary Not Surviving With Surviving Descendants.           Unless otherwise
                 provided, in the event an above named beneficiary is not surviving at the time
                 of allocation and has surviving children or grandchildren, Trustee shall divide
                 and allocate his or her share into as many equal shares as there are then
                 surviving children of a deceased beneficiary and deceased children of a
                 deceased beneficiary who have surviving children.


                 (a)     Each share allocated to a surv1vmg child of a deceased beneficiary
                         (grandchild of Trustor) shall be distributed to him or her under the
                         provisions of Paragraph B.2.5.




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                                                                           HOOVER000234
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                   (b)   Each share allocated to a deceased child of a deceased beneficiary who has
                         surviving children (great grandchild of Trustor) shall be distributed in
                         equal parts to said surviving children under the provisions of Paragraph
                         B.2.5.


       B.2.4.5 Beneficiary Not Surviving With No Surviving Descendants. Unless otherwise
                   provided, in the event an above named beneficiary is not surviving at the time
                   of allocation and has no surviving descendants, his or her share shall be added
                   proportionately to the other shares allocated in this Paragraph B.2.4.


B.2.5 Distribution to Grandchildren and Great Grandchildren. Unless otherwise indicated, each
       share allocated to a surviving grandchild or great grandchild of Trustor shall be
       distributed to him or her at the time of allocation providing he or she has reached the age
       of thirty-one years. In the event a beneficiary has not reached the age of thirty-one years,
       then his or her share shall be held and administered as a sub-trust and Trustee shall use so
       much of the income or principal from the beneficiary's sub-trust as Trustee deems
       necessary for the beneficiary's maintenance, education, support and health to the age of
       thirty-one, considering the availability to the beneficiary of other sources of funds. When
       the beneficiary shall attain the age of thirty-one years, the remainder of his or her sub-
       trust shall be distributed to him or her.


B.2.6 Distribution Upon Death of a Beneficiary. Unless otherwise indicated, in the event of the
       death of a beneficiary herein prior to receiving a complete and final distribution of a
       share he or she has been allocated, the remainder of such share shall be divided and
       allocated into as many equal shares as there are then surviving children of the deceased
       beneficiary and deceased children of the deceased beneficiary who have surviving
       children.




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      B.2.6.1   Each share allocated to a surviving child of the deceased beneficiary shall be
                distributed to him or her under the distributive provisions of Paragraph B.2.5.


      B.2.6.2   Each share allocated to a deceased child of the deceased beneficiary who has
                surviving children shall be distributed in equal parts to said surviving children,
                under the distributive provisions of Paragraph B.2.5.


      Should the beneficiary not have surviving descendants, as herein defined, the remainder
      of his or her share shall be added equally to the shares, distributed or not, of the
      beneficiary's then surviving brothers and sisters who were herein allocated shares and
      distributed as those shares have been or will be distributed; and if there be no such
      brothers or sisters, the said remainder shall be added equally to the shares allocated to the
      beneficiaries named herein, surviving and deceased, and distributed as those shares have
      been or will be distributed, but distributed only to then surviving beneficiaries.


B.2. 7 Beneficiary Emergency Expenses.        Unless otherwise provided, in the event of an
      emergency arising out of sickness or accident to a child of Trustor prior to division of the
      remainder Trust Estate, Trustee may pay to such child, or for his or her benefit, such
      amounts of income or principal from the Trust Estate as deemed necessary by Trustee,
      considering the availability to such child of other sources of funds. Such disbursements
      shall be a charge against the share of the recipient child of Trustor who received the
      disbursement if and when determined.


      After division of the Trust Estate into shares, Trustee may make such emergency
      distributions from any beneficiary's share being held in trust for that beneficiary.


B.2.8 Beneficiary Death Expenses. Unless otherwise provided, in the event of the death of a
      child of Trustor prior to division of the remainder Trust Estate, Trustee may pay from the




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        Trust Estate all or part of the expenses of said child's last illness and funeral and any
        other remaining debts to the extent that funds are not available from other sources.


        Trustee may make such disbursements from any deceased beneficiary's share, including a
        proportionate share of all taxes assessed by reason of the beneficiary's death, should the
        Trust be divided in such a manner that a specific share has been allocated to the deceased
        beneficiary.


B.2.9 Distribution to Beneficiary's Living Trust. Any and all distributions to a beneficiary who
        has his or her own living Trust may be distributed to the Trustee of such Trust rather than
        directly to such beneficiary upon written request by such beneficiary. However, any such
        distributions to a Trust shall be governed by the same terms and conditions as provided in
        this Trust as to distributions.


B.2.10 None of the Above Beneficiaries Surviving.           In the event none of the foregoing
        beneficiary distribution provisions is applicable at any time prior to a complete and final
        distribution of the Trust Estate, Trustee shall distribute the Trust Estate, or the remainder
        thereof, to the legal heirs of Truster under the laws of the controlling State of this Trust.
        Distribution shall be by right of representation, subject to the distributive provisions of
        Paragraph B.2.5 .



                IN WITNESS WHEREOF, Truster hereby ratifies and confirms this Trust and its
Schedules, as amended, and as Trustee hereby assents to this Amendment Three on March 24,
2011.



                                          ALI SULEIMAN, TRUSTOR-TRUSTEE




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                                                           ACKNOWLEDGMENT




STATE OF WASHINGTON,                                       )
                                                           ) ss.
County of King,                                            )



                 On this day personally appeared before me ALI SULEIMAN to me known to be
the individual described in and who executed the within and foregoing AMENDMENT THREE
of the ALI SULEIMAN TRUST and its SCHEDULES and acknowledged that he signed the
same as his free and voluntary act and deed for the uses and purposes therein mentioned.


                 GIVEN under my hand and official seal March 24, 2011.




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               ALI SULEIMAN TRUST

                      AMENDMENT FOUR



FIRST:    ARTICLE V, PARAGRAPH 5.1

                RELIEF FROM STATUTORY ACCOUNTING REQUIREMENTS


SECOND:   ARTICLE VI, PARAGRAPH 6.15

                DEEMED VIRTUAL REPRESENTATION


THIRD:    SCHEDULE B, PARAGRAPH B.2.2

                PERSONAL EFFECTS


FOURTH:   SCHEDULE B, PARAGRAPH B.2.3.2

                JAIMIE E. SULEIMAN


FIFTH:    SCHEDULE B, PARA GRAPH B.2.11

                DEBTS OWED BY BENEFICIARIES



ACKNOWLEDGMENT


                                                       REHBERG LAW GROUP, P.S.
                                            18000 INTERNATIONAL BLVD. SUITE550
                                                     SEAT AC, WASHINGTON 98188
                                                                     (206) 246-8772




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                     ALI SULEIMAN TRUST

                               AMENDMENT FOUR

               TRUSTOR ALI SULEIMAN, pursuant to the rights reserved by Trustor in Article
II, Paragraph 2.1 of the ALI SULEIMAN TRUST dated November 25, 2003 , hereby amends and
modifies said Trust as follows :


FIRST: Paragraph 5 .1 of ARTIC LE V is hereby amended in its entirety to read as follows:


5 .1   Relief from Statutory Accounting Requirements. A person nominated as Trustee of one
       or more trusts or sub-trusts established hereunder, shall keep all persons interested in the
       Trust reasonably informed about the administration of the Trust. Trustee may, in
       Trustee' s sole and absolute discretion, provide a report for the relevant period containing
       the following information to satisfy such duty: (a) a statement of receipts and
       disbursements of principal and income; (b) a statement of assets and liabilities of the
       Trust; (c) Trustee ' s compensation; (d) agents hired by Trustee, their relationship to the
       Trustee, if any, and their compensation; (e) disclosure of any pledge, mortgage, option, or
       lease of Trust property or other agreement affecting Trust property binding for a period of
       five years or more; (f) disclosure of any conflict of interest transactions; (g) a statement
       that the recipient may petition the superior court under RCW 11 .106 to obtain review of
       the statement and the acts of the Trustee disclosed in the statement; and (h) a statement
       that claims against Trustee for breach of trust may not be made after the expiration of
       three years from the date the beneficiary receives the statement.

       Except as provided above, Trustee shall be relieved from the duties which would
       otherwise be required by state law related to accountings by Trustees in force at the time
       of the execution of this Agreement and any amendment or amendments thereof and any
       similar Act or Acts of this or any other jurisdiction and in lieu thereof, Trustee shall: (a)
       unless unreasonable under the circumstances, promptly respond to a beneficiary' s request
       for information related to the administration of the Trust, and (b) within sixty (60) days of
       a request from a beneficiary for information reasonably necessary to enforce their rights
       under the Trust, provide such information to such beneficiary or their virtual
       representative under RCW l 1.96A.120. Delivery of the entire trust instrument to such
       person shall be deemed to satisfy the Trustee ' s obligations to provide such reasonably
       necessary information.



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SECOND: Paragraph 6.15 is hereby added as a part of ARTICLE VI to read as follows:


6.15   Deemed Virtual Representation. A person nominated as Trustee of one or more trusts or
       sub-trusts established hereunder, even if such trust(s) or sub-trust(s) have not yet been
       formally established or funded, shall be deemed to serve as virtual representative of the
       beneficiaries of such trust(s) under RCW l l.96A.120. This shall include, but not be
       limited to, acting as virtual representative for the beneficiaries of such trust(s) or sub-
       trust(s) for the satisfaction of notice requirements under RCW 11.103.050.

THIRD: Paragraph B.2.2 of SECTION II, SCHEDULE B, is hereby amended in its entirety to
read as follows:


B.2.2 Personal Effects. Upon the death of Trustor, any and all personal effects, household
       furniture and furnishings , personal vehicles, pleasure boats, and similar articles of
       personal use, together with any insurance thereon, are to be distributed as Trustor has
       designated in a written, signed and dated list indicating who is to receive certain items of
       personal effects. It shall be binding upon Trustee to carry out those directions contained
       in such list unless the intended recipient is not surviving.


       Should there be any remaining personal effects thereafter, or in the event there is no such
       list in existence at the time of Trustor's death, then such personal effects or the remainder
       thereof, shall be distributed equally to those who are surviving of Trustor's children,
       Sofiah Omega Corcoran, Amir Clyde Suleiman, and Sarah Virginia Hoover, unless
       Trustor has provided otherwise in his last Will.


       If Trustor' s surviving children do not agree within one hundred twenty days from the date
       of Trustor's death as to the division of the personal effects, or if a beneficiary is unable to
       make such a choice because of a legal disability, Trustee shall have full authority to make
       an equitable division of such property to such beneficiaries pursuant to the preceding
       paragraph, giving preference where possible to their desires, or to sell all or any part of
       such articles and distribute such proceeds among such beneficiaries.               Trustee is
       authorized to sell any or all such property to one or more of such beneficiaries or to
       others.




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       With respect to the share of a minor or a beneficiary under a legal disability, Trustee shall
       have the authority to place assets in safekeeping for the beneficiary until he or she
       reaches legal age or deliver all, or any part thereof, to the guardian of his or her person.


       All reasonable expenses incurred for storage, packing, shipping, delivery or insurance of
       such tangible personal property on or before the expiration of one hundred twenty days
       from the date of Trustor' s death shall be charged as an administrative expense of the
       Trust.


FOURTH: Paragraph B.2.3.2 of SECTION II, SCHEDULE B, is hereby deleted in its entirety.


FIFTH: Paragraph B.2.11 is hereby added to, and made a part of, SECTION II of Schedule B:


B.2.11 Debts Owed by Beneficiaries. In the event there is a balance owing to Trustor, at the
       time of allocation of the remainder Trust Estate, on any note, loan or other financial
       obligation evidenced by a note or other writing signed by any beneficiary of this Trust or
       evidenced by any other writing or ledger maintained by Trustor, including any remaining
       unpaid debt accrued by Trustor' s son, Gordon T. Suleiman, prior to his death (date of
       death December 26, 2010), then such balance shall be considered forgiven and paid in
       full and not a charge against such beneficiary's distributive share of the Trust Estate. .


                IN WITNESS WHEREOF, Trustor hereby ratifies and confirms this Trust and its
Schedules, as amended, and as Trustee hereby asse       to this Amendment Four on May 29, 2014.



                                      ALI SULEIMAN, TRUSTOR-TRUSTEE




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                                    ACKNOWLEDGMENT




STATE OF WASHINGTON,                 )
                                     ) ss.
County of King,                      )



              On this day personally appeared before me ALI SULEIMAN to me known to be
the individual described in and who executed the within and foregoing AMENDMENT FOUR of
the ALI SULEIMAN TRUST and its SCHEDULES and acknowledged that he signed the same
as his free and voluntary act and deed for the uses and purposes therein mentioned.


               GIVEN under my hand and official seal May 29, 2014.




                                     NOT~ U C : James A. Davies
                                     In and for the State of Washington
                                     My appointment expires 12-19-2015




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                                                                 HOOVER000244
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                         CERTIFICATE AND AFFIDAVIT OF TRUST
                                          (RCW ll.98.075)

 Amir C. Suleiman and Sarah V. Hoover, Trustee of the Ali Suleiman Trust (the          Trust   ) being

 first duly swom on oath, hereby certify(ies), rePreSent(S), Warrant(s) and declare(S) as ft)llows:


 Trust Information


     l.   Trust name (as stated in the Trust document) or name by which Trust is commonly

             known: Ali Suleiman Trust.

    2.    Names of all grantors, Settlors, truStOrS, Or Other creators of Trust: Ali Suleiman.



    3.    Date Trust document was executed (including date of any Will): November 25, 2003.



    4.    State or other jurisdiction in which Trust established: Washington.



    5.    Type of Trust: Irrevocable.



    6.    Manner in which title to Trust assets is held: The name of the Trust is (assets are

             titled thus) Ali Suleiman Trust.

 Trustee Information


    7.    Nane of current Trustees: Amir C. Suleiman and Sarah V. Hoover.



    8.    Address of each currently acting Trustee:

             Amir C. Suleiman
             24805 22nd Ave S
             Kent, WA 98032

             Sarah V. Hoover
             18205 106th st巴
             Bonney Lake, WA 98391

             Names of successor Trustee (as named in Trust document or, if applicable, named in
             accordance with Trust document): If Amir C. Suleiman or Sarah V. Hoover are
             unwilling or unable to act・ Sofiah O. Corcoran shall be Co‑Trustee in their place.



    10.    Under the terms of the Trust document‥         On November 25, 2003, the Ali Suleiman
             Trust was established by Ali Suleiman    aS Trustor. The Trustor died on February 24,
             2015. The Trust is now irrevocable and the Trust provides the successor Trustees can
             undertake any transactions relating to the management of the assets of the Trust.




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    1 1.    The Trustees are authorized to do the following: Article IV ofthe Trust provides that

             the    Trustees shall have as to the Trust Estate and in the execution of this TnlSt all the

             rights, POWerS and privileges which an absolute owner of the same property would
             have, including, Without limiting the generality of the foregoing, the powers granted
             by law ‥. and the following special rights, POWerS, and privileges: ‥.         Trust assets

             may be used as collateral for a loan. The specific rights, POWerS, and privileges are
             Very eXtenSive and broad and are designed to give the Trustees wide latitude in
             managing the Trust.


    12.    Trustees    powers include, but are not limited to:



             a. Thepowersto sell, COnVey andexchange: [X] Yes [ ] No (Checkone)
             b. The power to borrow money and pledge and encumber trust property with a deed
                   Oftrust or mortgage [X] Yes [ ] No (Check one)

 Miscellaneous Information

    13.    To the best of the knowledge of Trustees, there is no claim, 1itigation, CauSe Of action

             alleged, Or Challenge of any kind, Which contests or questions the validity of the Trust
             Or a T則Stee   s authority to act on behalf of the Trust.



    14.    The Trust is in full force and e餓3Ct and has not been terminated, reVOked, amended or

             modified in any way that causes the representations in this Certificate and A珊davit

             Of Trust to be inaccurate or inco調eCt.



 RCW ll.98.075 (8) states: A person making a demand for the trust instrument in addition
 to a certi鯖cation of trust or excerpts is liable for damages, including reasonable attomey

 fees, if the court determines that the person did not act in good faith in demanding the trust




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                                 NOTARY PUBLIC


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